

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-64,346-03






VICTOR CORNELL HUNTER, Relator


v.


 213th JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 1114993-D
			

FROM TARRANT COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 213th Judicial District Court of Tarrant County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court. Relator contends that the
district court entered an order designating issues on June 20, 2011.

	 Respondent, the Judge of the 213th Judicial District Court of Tarrant County, shall file a
response with this Court by having the District Clerk submit the record on such habeas corpus
application.   In the alternative, the trial court may resolve the issues set out in its order and then have
the District Clerk submit the record on such application.  In either case, the trial court's response
shall be submitted within 30 days of the date of this order.  This application for leave to file a writ
of mandamus will be held in abeyance until Respondent has submitted its response.


Filed: April 25, 2012

Do not publish	


